         Case 1:18-cv-00340-ABJ Document 24 Filed 05/14/19 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 CAMPAIGN LEGAL CENTER,
                                                      Civil Action No. 1:18-cv-00340 (ABJ)
        Plaintiff,

 v.

 UNITED STATES DEPARTMENT OF
 JUSTICE,

        Defendant.


                                    NOTICE OF APPEAL

       NOTICE IS HEREBY GIVEN that Defendant United States Department of Justice

appeals to the United States Court of Appeals for the District of Columbia Circuit from this

Court’s March 15, 2019, Order (ECF No. 20) and Memorandum Opinion (ECF No. 21).


Dated: May 14, 2019                               Respectfully submitted,
                                                  JOSEPH H. HUNT
                                                  Assistant Attorney General
                                                  Civil Division

                                                  ELIZABETH J. SHAPIRO
                                                  Deputy Branch Director

                                                  /s/ Kristina A. Wolfe
                                                  CAROL FEDERIGHI
                                                  Senior Trial Counsel
                                                  KRISTINA A. WOLFE
                                                  JOSEPH E. BORSON
                                                  United States Department of Justice
                                                  Civil Division, Federal Programs Branch
                                                  P.O. Box 883
                                                  Washington, DC 20044
                                                  Phone: (202) 353-4519
                                                  Email: kristina.wolfe@usdoj.gov

                                                  Counsel for Defendants
